          Case 2:18-cv-02187-DGC Document 1 Filed 07/11/18 Page 1 of 7



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7
                                 UNITED STATES DISTRICT COURT
8
                                          DISTRICT OF ARIZONA
9
10   Eugene A. Gabrielli,                            Case No.:
11                           Plaintiff,
                                                     COMPLAINT AND DEMAND FOR
12   v.                                              JURY TRIAL
13   New Penn Financial LLC, d/b/a Shellpoint
14   Mortgage Servicing; Equifax Information              1. FCRA, 15 USC § 1681 et seq.
     Services, LLC; Experian Information
15
     Solutions, Inc.; and Transunion, LLC
16
                             Defendants.
17
18           Plaintiff Eugene Gabrielli (“Plaintiff”), through his attorneys, alleges the following
19   against New Penn Financial LLC, d/b/a Shellpoint Mortgage Servicing (“Shellpoint”);
20   Equifax Information Services, LLC (“Equifax”); Experian Information Solutions, Inc.
21   (“Experian”); and Transunion, LLC (“Transunion”), respectively and collectively referred
22   to as the (“Defendants”):
23                                         INTRODUCTION
24           This is a single-count complaint based on violations of the Fair Credit Reporting Act
25   (FCRA), 15 U.S.C. § 1681 et seq., against Defendants and their agents for their unlawful
26   reporting of inaccurate information on Plaintiff’s credit report.
27                                    JURISDICTION AND VENUE
28           1.     Jurisdiction of the court arises under 28 U.S.C. § 1331.

                                                  -1/7-             Gabrielli v. New Penn Financial LLC -
                                                                                               Complaint
        Case 2:18-cv-02187-DGC Document 1 Filed 07/11/18 Page 2 of 7



1             2.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part
2    of the events or omissions giving rise to the claim occurred in this District.
3             3.      Defendants transact business in the State of Arizona; therefore, personal
4    jurisdiction is established.
5                                                     PARTIES
6             4.      Plaintiff is a natural person residing in Tempe, AZ.
7             5.      Plaintiff is a (“consumer”) as defined by the FCRA, 15 U.S.C. § 1681a(c).
8             6.      Defendant Shellpoint is a (“furnisher”) under 15 U.S.C. § 1681a(r)(5) with
9    its principal place of business located at 2711 Centerville Road, Ste 400, Wilmington, DE,
10   19808.
11            7.      Shellpoint can be served through its Arizona statutory agent Corporation
12   Service Company, at its registered address located at 2338 W Royal Palm Road, Ste J,
13   Phoenix, AZ 85021.
14            8.      Defendant Equifax is a (“credit reporting agency”), as defined under 15
15   U.S.C. 1681a(f), with its principal place of business located at 1550 Peachtree Street NW,
16   Atlanta, Georgia 30309.
17            9.      Defendant Experian is a (“credit reporting agency”), as defined under 15
18   U.S.C. 1681a(f), with its principal place of business located at 475 Anton Boulevard,
19   Costa Mesa, California 92626.
20            10.     Defendant Transunion is a (“credit reporting agency”), as defined under 15
21   U.S.C. 1681a(f), with its principal place of business located at 555 West Adams Street,
22   Chicago, IL 60661.
23            11.     Defendants acted through their agents, employees, officers, members,
24   directors,     heirs,   successors,   assigns,    principals,   trustees,   sureties,    subrogees,
25   representatives, and insurers.
26                                         FACTUAL ALLEGATIONS
27            12.     In or around December of 2006, Plaintiff took acquired the property located
28   at 4019 E Saint John Road, Phoenix, AZ 85032.

                                                      -2/7-             Gabrielli v. New Penn Financial LLC -
                                                                                                   Complaint
        Case 2:18-cv-02187-DGC Document 1 Filed 07/11/18 Page 3 of 7



1           13.      The property is a single-family home comprised of three bedrooms, two
2    bathrooms, and occupying 1,092 square feet.
3           14.      Plaintiff used a first and second mortgage to acquire the property.
4           15.      In 2008 the financial crisis hit and Plaintiff began experiencing financial
5    difficulties.
6           16.      In addition to his financial challenges, Plaintiff’s home lost significant value
7    and was seriously under water.
8           17.      In or around 2011, Shellpoint foreclosed on the property.
9           18.      On or about January 27, 2012, the trustee sold the property at auction under
10   ARS § 33-807.
11          19.      Because Shellpoint had sold the property by Trustee sale, Shellpoint was
12   barred from collecting on the deficiency in any way.
13          20.      Despite having exercised its rights to foreclose through a non-judicial action,
14   Shellpoint continued to report to credit reporting agencies the difference between the
15   amount obtained by sale and the amount of the indebtedness, interests, costs and expenses,
16   ever since the property was sold.
17          21.      On or about January 2, 2018, after discovering that Shellpoint was
18   continuing to erroneously report a balance owed, Plaintiff sent letters to Defendants
19   Equifax, Experian, and Transunion disputing the reporting of the debt on his credit report.
20          22.      Upon information and belief, Defendants Equifax, Experian, and
21   Transunion informed Shellpoint that Plaintiff was disputing the reporting on his file.
22          23.      On or about January 24, 2018, Experian sent a reply letter to Plaintiff.
23   Experian replied that it had “updated” the Shellpoint account, yet still reports the
24   Shellpoint account.
25          24.      On or about January 24, 2018, Transunion sent a reply letter to Plaintiff, in
26   which Transunion still reports the Shellpoint account.
27          25.      On or about January 24, 2018, Equifax sent a reply letter to Plaintiff, in
28   which Equifax still reports the Shellpoint account.

                                                   -3/7-              Gabrielli v. New Penn Financial LLC -
                                                                                                 Complaint
        Case 2:18-cv-02187-DGC Document 1 Filed 07/11/18 Page 4 of 7



1           26.    Equifax, Experian, and Transunion’s reporting of the above information is
2    inaccurate.
3           27.    Equifax, Experian and Transunion have been sued in Arizona for reporting
4    Purchase money loans with outstanding balances after a non-judicial foreclosure.
5           28.    Defendant’s knew or had reason to know that the reporting was inaccurate.
6           29.    As a result of Defendants’ conduct, Plaintiff has sustained actual damages
7    including but not limited to, embarrassment, anguish, and emotional and mental pain.
8           30.    Specifically, Plaintiff was deeply embarrassed when trying to buy a vehicle
9    at a dealership, the dealership informed Plaintiff that several lenders were refusing to
10   extend credit to Plaintiff and that Plaintiff would only be extended credit on very onerous
11   terms compared to buyers with average credit.
12          31.    The inaccurate reporting by Defendants has caused Plaintiff’s credit file to
13   be severely damaged.
14          32.    Plaintiff was refused credit by several lenders when Plaintiff was attempting
15   to finance a vehicle. Plaintiff was refused credit by SAFCO, Americredit, Capital One
16   Auto Financing, An Ford Scottsdale, First Invest SVC/First, and Power Ford No.
17          33.    Plaintiff was only able to buy a used Ford F-250 truck model 2008, which
18   he uses for work, by agreeing to a subprime double-digit interest rate loan from Global
19   Lending Service.
20          34.    Plaintiff has suffered damages because Plaintiff cannot obtain credit which
21   he needs.
22          35.    Plaintiff has not been able to apply for a mortgage for a home because of the
23   inaccurate credit reporting by Defendant.
24                                               COUNT I
25                       Violations of the FCRA, 15 U.S.C. § 1681 et. seq.
26          36.    Plaintiff incorporates the foregoing paragraphs as though the same were set
27   forth at length herein.
28          37.    The FCRA requires a credit reporting agency, either after receiving notice

                                                 -4/7-            Gabrielli v. New Penn Financial LLC -
                                                                                             Complaint
        Case 2:18-cv-02187-DGC Document 1 Filed 07/11/18 Page 5 of 7



1    that a consumer disputes information that is being reported by a furnisher, to conduct an
2    investigation with respect to the disputed information.
3           38.      Defendants Equifax, Experian, and Transunion failed to employ and follow
4    reasonable procedures to assure maximum possible accuracy of Plaintiff’s credit report,
5    information, and file, in violation of 15 U.S.C. § 1681e(b).
6           39.      Defendants Equifax, Experian, and Transunion failed to conduct a
7    reasonable investigation under 15 U.S.C. § 1681i.
8           40.      Defendants Equifax, Experian, and Transunion violated sections 1681n and
9    1681o of the FCRA by engaging in the following conduct that violates 15 U.S.C. § 1681s-
10   2(a), (b):
11                a. Willfully and negligently failing to conduct an investigation of the
12                   inaccurate information that Plaintiff disputed;
13                b. Willfully and negligently failing to review all relevant information
14                   concerning Plaintiff’s file;
15                c. Willfully and negligently failing to report the inaccurate status of the
16                   inaccurate information to all credit reporting agencies;
17                d. Willfully and negligently failing to properly participate, investigate and
18                   comply with the reinvestigations that were conducted by any and all credit
19                   reporting agencies concerning the inaccurate information disputed by
20                   Plaintiff; and
21                e. Willfully and negligently continuing to furnish and disseminate inaccurate
22                   and derogatory credit, account and other information concerning Plaintiff to
23                   the other credit reporting agencies.
24          41.      The FCRA requires a furnisher such as Shellpoint, either after receiving
25   notice directly from the consumer or from a credit reporting agency that a consumer
26   disputes information that is being reported by that furnisher, to conduct an investigation
27   with respect to the disputed information. The investigation involves (a) reviewing all
28   relevant information, (b) reporting the results of the investigation to the credit reporting

                                                    -5/7-              Gabrielli v. New Penn Financial LLC -
                                                                                                  Complaint
        Case 2:18-cv-02187-DGC Document 1 Filed 07/11/18 Page 6 of 7



1    agency, and (c) if the investigation reveals that the information is incomplete or inaccurate,
2    reporting those results to all other credit reporting agencies to which the furnisher has
3    provided the inaccurate information.
4           42.      Defendant Shellpoint failed to conduct a reasonable investigation following
5    receipt of no less than three indirect disputes under 15 U.S.C. § 1681s(2)(b).
6           43.      Defendant Shellpoint has willfully provided inaccurate information to
7    Defendants Equifax, Experian, and Transunion, despite Arizona’s anti-deficiency statute.
8           44.      Defendants’ conduct was a direct and proximate cause, as well as a
9    substantial factor, in causing serious injuries, damages and harm to Plaintiff that are
10   outlined more fully above, and as a result, Defendants are liable to compensate Plaintiff
11   for the full amount of statutory, actual and punitive damages, along with attorneys’ fees
12   and costs, as well as other such relief, permitted by 15 U.S.C. § 1681n.
13          45.      As a result of the above-described violations Plaintiff has sustained damages
14   including loss of the opportunities to obtain credit or better credit conditions, emotional
15   distress, and mental and physical pain.
16          46.      Defendants’ violation of the FCRA was willful and therefore Plaintiff is
17   entitled to seek statutory and punitive damages.
18                                         JURY DEMAND
19          Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a trial by
20   jury of all issues triable by jury.
21                                     PRAYER FOR RELIEF
22          WHEREFORE, Plaintiff Eugene Gabrielli respectfully requests judgment be
23   entered against Defendants for the following:
24                A. Declaratory judgment that Defendants Shellpoint, Equifax, Experian, and
25                   Transunion violated the FCRA;
26                B. Actual damages pursuant to 15 U.S.C. § 1681n(a);
27                C. Statutory damages pursuant to 15 U.S.C. § 1681n(a)(1)(A);
28                D. Punitive damages pursuant to 15 U.S.C. § 1681n(a)(2);

                                                  -6/7-             Gabrielli v. New Penn Financial LLC -
                                                                                               Complaint
     Case 2:18-cv-02187-DGC Document 1 Filed 07/11/18 Page 7 of 7



1          E. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§1681n(c) and
2             1681o(b);
3          F. Awarding Plaintiff any pre-judgment and post-judgment interest as may be
4             allowed under the law; and
5          G. Any other relief that this Court deems appropriate.
6
7       Respectfully submitted this 11th day of July of 2018.
8
                                                    By:/s/ David A. Chami .
9                                                   David A. Chami
                                                    Attorneys for Plaintiff
10                                                  Eugene Gabrielli
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                                            -7/7-               Gabrielli v. New Penn Financial LLC -
                                                                                           Complaint
